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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division

 ELIZABETH SINES, et al.,                         )       Civil Action No. 3:17-cv-00072
      Plaintiffs,                                 )
                                                  )
 v.                                               )       MEMORANDUM OPINION & ORDER
                                                  )
 JASON KESSLER, et al.,                           )
      Defendants.                                 )       By:     Joel C. Hoppe
                                                  )               United States Magistrate Judge

           This matter is before the Court on Plaintiffs’ second Motion for Sanctions Against

 Defendant James Alex Fields Jr. under Rule 37 of the Federal Rules of Civil Procedure. ECF No.

 1003 (“Pls.’ Mot.”). Plaintiffs contend that Fields “has persistently failed and refused to provide

 routine discovery in this case, disobeyed Court orders, destroyed documents, and, most recently,

 refused to testify in a deposition after seeking multiple extensions.” Id. at 6. 1 They ask the Court

 to impose three types of sanctions at the upcoming jury trial, see id., “to level the evidentiary

 playing field and put the Plaintiffs in the position they would have held had Fields participated

 properly in discovery,” id. at 7. The motion has been fully briefed, see ECF Nos. 1011, 1022,

 1037, 1055, and may be resolved without a hearing, Fed. R. Civ. P. 78(b); W.D. Va. Civ. R.

 11(b). Plaintiffs’ motion will be GRANTED in part and DENIED in part as detailed below.

                                         I. The Legal Framework

           Rules 26 through 36 of the Federal Rules of Civil Procedure provide specific devices or

 procedures—such as interrogatories, requests for admission, and depositions—for parties to

 obtain discoverable information before trial. Courts rely “in large part on the good faith and

 diligence of counsel and the parties in abiding by these rules and conducting themselves and



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 their judicial business honestly.” Metro. Opera Ass’n, Inc. v. Local 100, Hotel Emps. & Rest.

 Emps. Int’l Union, 212 F.R.D. 178, 181 (S.D.N.Y. 2003). When they do not, Rule 37 provides

 one mechanism for a district court to compel compliance, Fed. R. Civ. P. 37(a), or to sanction an

 unacceptable failure to follow the rules, see Fed. R. Civ. P. 37(b)–(f). 2 Plaintiffs’ pending motion

 primarily relies on Rule 37(b)(2)(A). See generally Pls.’ Mot. 10–12, 15–16 (citing Mem. Op. &

 Order of June 11, 2020, ECF Nos. 759, 760; Order of Aug. 10, 2020, ECF No. 829).

         Rule 37(b) authorizes the district court where an action is pending to impose appropriate

 sanctions when a party “fails to obey an order to provide or permit discovery.” 3 Fed. R. Civ. P.

 37(b)(2)(A); see R.W. Int’l Corp. v. Welch Foods, Inc., 937 F.2d 11, 15 (1st Cir. 1991) (“The

 rule’s language clearly requires two things as conditions precedent to engaging the gears of the

 rule’s sanction machinery: a court order must be in effect, and then must be violated, before . . .

 sanctions can be imposed.”). “Once a court makes the threshold determination under Rule 37(b)”



 2
   “Federal courts also have inherent power to sanction conduct that offends the legal process, including a
 party’s ‘fail[ure] to preserve or produce’ discoverable information for another’s use in litigation.” Mem.
 Op. of June 11, 2020, at 11 n.4 (quoting Hodge v. Wal-Mart Stores, Inc., 360 F.3d 446, 450 (4th Cir.
 2004)). “In this case, Rule 37(b)(2)(A) provides an adequate framework to determine whether Fields
 failed obey” the relevant discovery orders “and, if so, whether Plaintiffs’ requested evidentiary sanctions
 are appropriate.” Id.
 3
   The phrase “order to provide or permit discovery” explicitly includes “an order . . . under Rule 37(a),”
 Fed. R. Civ. P. 37(b)(2)(A), related to motions for an order “compelling an answer . . . production, or
 inspection” in response to the moving party’s written discovery requests, Fed. R. Civ. P. 37(a). Beyond
 this, “[c]ourts are entitled to interpret broadly what constitutes an order” within the meaning of Rule
 37(b)(2). REP MCR Realty v. Lynch, 383 F. Supp. 2d 984, 998 (N.D. Ill. 2005); see Halas v. Consumer
 Servs., Inc., 16 F.3d 161, 164 (7th Cir. 1994) (“[A]n oral directive from the district court provides a
 sufficient basis for Rule 37(b)(2) sanctions if it unequivocally directs the party to provide the requested
 discovery.”); Carriage Hill Mgmt. v. Bos. Lobster Feast, Inc., No. GJH-17-2208, 2018 WL 3329588, at
 *5 (D. Md. July 6, 2018) (district court’s oral order noting the parties’ agreement to produce discovery by
 extended deadline did not provide grounds for relief under Rule 37(b)(2) because the “[o]rder did not
 mandate any particular action” and “did not explicitly direct any action from either party”); United States
 v. Barker, No. 3:06cr373, 2010 WL 2650885, at *1–2 (W.D.N.C. July 1, 2010) (order granting plaintiff
 leave to depose incarcerated defendant, entered under Rule 30(a)(2)(B), was an order to provide or permit
 discovery within the meaning of Rule 37(b)(2)); cf. Belk v. Charlotte-Mecklenburg Bd. of Educ., 269 F.3d
 305, 324 (4th Cir. 2001) (en banc) (acknowledging “the rule in this circuit that a district court . . . is best
 able to interpret its own orders”).

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 that a prior discovery order has been violated, Thompson v. U.S. Dep’t of Hous. & Urban Dev.,

 219 F.R.D. 93, 102 (D. Md. 2003), subsection (b)(2)(A) “contains two standards—one general

 and one specific—that limit [the] court’s discretion” in choosing what sanction(s) to impose, Ins.

 Corp. of Ir. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 707 (1982). 4 “First, any

 sanction must be ‘just’; second, the sanction must be specifically related to the particular ‘claim’

 which was at issue in the order to provide discovery.” Ins. Corp. of Ir., 456 U.S. at 707 (citing

 Fed. R. Civ. P. 37(b)(2)(A)).

         In making this determination, the district court should consider: “(1) whether the non-

 complying party acted in bad faith, (2) the amount of prejudice that noncompliance caused the

 adversary, (3) the need for deterrence of the particular sort of non-compliance, and (4) whether

 less drastic sanctions would . . . be[] effective.” S. States Rack & Fixture, Inc. v. Sherwin-

 Williams Co., 318 F.3d 592, 597 (4th Cir. 2003) (citing Belk, 269 F.3d at 348); see Beach Mart,

 Inc. v. L&L Wings, Inc., 784 F. App’x 118, 123–24 (4th Cir. 2019) (citing Fed. R. Civ. P.

 37(b)(2)(A)). “The presence or absence of any one of these factors is generally not decisive,”

 First Mariner Bank v. Resolution Law Grp., Civ. No. MJG-12-1133, 2013 WL 5797381, at *4

 (D. Md. Oct. 24, 2013), as the district court has broad discretion to “‘make whatever disposition

 is just in light of the facts of the particular case,’” id. (quoting Bethesda Softworks, LLC v.



 4
   Such sanctions “may include” orders deeming facts established, permitting or requiring an adverse
 inference, entering default judgment against the disobedient party, or holding the party in civil contempt.
 Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497, 533–34 (D. Md. 2010) (quoting Fed. R. Civ. P.
 37(b)(2)(A)); see Fed. R. Civ. P. 37(b)(2)(A)(i)–(vii); Thompson, 219 F.R.D. at 102 (“Rule 37(b)(2)
 provides a non-exclusive list of possible sanctions[.]”); 8B Charles Wright & Arthur Miller, Federal
 Practice & Procedure § 2289 (3d ed. 2018) (explaining that Rule 37(b)(2) gives courts “broad discretion
 to make whatever disposition is just” in the particular case and that available sanctions are “not limited to
 the kinds of orders specified” in subsection (b)(2)(A)(i)–(vii)). Separately, Rule 37(d) permits a court, on
 motion, to impose the sanctions “listed in Rule 37(b)(2)(A)(i)–(vi)” if the court finds that an individual
 party failed, “after being served with proper notice, to appear for that person’s deposition.” See Fed. R.
 Civ. P. 37(d)(1)(A)(i), (d)(3).

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 Interplay Enter. Corp. Civ. No. DKC-09-2357, 2011 WL 1559308, at *2 (D. Md. Apr. 25,

 2011)). Some sanctions, however, do require the court to find that the disobedient party acted

 willfully or in bad faith before the sanction may be imposed. See, e.g., Young Again Prods. v.

 Acord, 459 F. App’x 294, 305–06 (4th Cir. 2011) (civil contempt); Hodge, 360 F.3d at 450

 (adverse inference); Mut. Fed. Sav. & Loan Ass’n v. Richards & Assocs., Inc., 872 F.2d 88, 92

 (4th Cir. 1989) (default judgment).

        The Fourth Circuit has not clearly defined the movant’s burden of proof on a Rule 37

 motion for sanctions. Brooks Sports, Inc. v. Anta (China) Co., Ltd., No. 1:17cv1458, 2018 WL

 7488924, at *11 (E.D. Va. Nov. 30, 2018), adopted by 2019 WL 969572, at *1 (E.D. Va. Jan. 11,

 2019); Glynn v. EDO Corp., Civ. No. 07-1660, 2010 WL 3294347, at *2 (D. Md. Aug. 20,

 2010). “Some courts have applied the preponderance of the evidence standard. Other courts have

 required clear and convincing proof of misconduct, especially when imposing severe sanctions.”

 Jenkins v. Woody, No. 3:15cv355, 2017 WL 362475, at *12 (E.D. Va. Jan. 21, 2017) (internal

 citation omitted). For the reasons explained below, I conclude that Plaintiffs have, for the most

 part, failed to show that (a) Fields’s challenged conduct violated the cited discovery orders, and

 (b) the proposed evidentiary sanctions are appropriate to remedy Fields’s actual violations of

 those orders and deter similar misconduct. My “decision would remain the same under either

 standard.” Id. Cf. Glynn, 2010 WL 3294347, at *2 (“[T]he precise burden of proof in a motion

 for sanctions is unclear in the Fourth Circuit. However, proving misconduct occurred by ‘clear

 and convincing’ evidence, as opposed to by a mere preponderance, certainly suffices.”).

                                           II. Background

        On August 11–12, 2017, “the Defendants in this lawsuit, including the Ku Klux Klan,

 various neo-Nazi organizations, and associated white supremacists, held rallies in



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 Charlottesville, Virginia. Violence erupted.” Sines v. Kessler, 324 F. Supp. 3d 765, 773 (W.D.

 Va. 2018) (“Sines I”); see Second Am. Compl. ¶¶ 1–7, ECF No. 557. Plaintiffs, several residents

 who were injured that weekend, contend that “this violence was no accident”—rather, they

 allege that Defendants “conspir[ed] to engage in violence against racial minorities and their

 supporters” in violation of 42 U.S.C. § 1985, and related state laws. Sines I, 324 F. Supp. 3d at

 773. Six remaining Plaintiffs allegedly were injured when Fields drove his car into a crowd of

 counter-protesters after the main “Unite the Right” event ended on Saturday, August 12. See id.

 at 774–75; Second Am. Compl. ¶¶ 11, 14–17, 19. 5 “While ultimate resolution of what happened

 at the rallies awaits another day,” the presiding District Judge has held that these Plaintiffs

 plausibly alleged certain Defendants “formed a conspiracy to commit the racial violence that led

 to the Plaintiffs’ varied injuries,” Sines I, 324 F. Supp. 3d at 773; see id. at 787–88 (discussing

 allegations against Defendant Vanguard America), and that those “co-conspirator Defendants

 may be held liable for the overt act Fields[] took in furtherance of the conspiracy,” id. at 797; see

 id. at 796–97. Plaintiffs also alleged that Fields “wore Defendant Vanguard America’s uniform

 and marched with other Vanguard America members” on August 12. See id. at 778 (citing Am.

 Compl. ¶ 197). 6 They did not allege Fields had any role in planning Unite the Right.

         In his Answer to Plaintiffs’ Second Amended Complaint, Fields admitted that “he

 attended the event in Charlottesville” on August 12, wore “a white polo shirt (that did not have

 the Vanguard [America] logo on it) and khakis,” and carried “an object with the Vanguard logo



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  Those plaintiffs are: Elizabeth Sines, Marissa Blair, April Muñiz, Marcus Martin, Natalie Romero, and
 Thomas Baker. Plaintiff Chelsea Alvarado also was allegedly injured in this collision, id. ¶ 18, but she has
 voluntarily dismissed her claims against Fields, see Oral Order of Sept. 9, 2021, ECF No. 1053.
 6
  Fields did not move to dismiss any of Plaintiffs’ claims. See Sines I, 324 F. Supp. 3d at 807 n.10; Def.
 Fields’s Answer to Am. Compl., ECF No. 197 (Jan. 18, 2018); Def. Fields’s Answer to Second Am.
 Compl., ECF No. 569 (Oct. 1, 2019).

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 for some portions of the event.” Def. Fields’s Answer to Second Am. Compl. ¶ 331; see Sines I,

 324 F. Supp. 3d at 777–78 (noting Plaintiffs’ allegations that “Defendant Vanguard America

 instructed its members ‘to arrive at the rally in matching khaki pants and white polos,’” Am.

 Compl. ¶ 115; that “[s]ome chapters planned to bring shields with matching logos,” id. ¶ 121;

 and that “Vanguard America made twenty extra shields for attendees who were unprepared,” id.

 ¶ 191). Fields denied (or invoked his Fifth Amendment privilege in response to) Plaintiffs’

 allegations that he conspired to commit, or committed, any acts of violence at Unite the Right.

 See generally Def. Fields’s Answer to Second Am. Compl. ¶¶ 335–72; Second Am. Compl. ¶¶

 335–43 (Count I, § 1985 conspiracy); id. ¶¶ 344–50 (Count II, 42 U.S.C. § 1986); id. ¶¶ 351–55

 (Count III, civil conspiracy); id. ¶¶ 356–63 (Count IV, negligence per se); id. ¶¶ 364–67 (Count

 V, Va. Code § 8.01-42.1); id. ¶¶ 368–69 (Count VI, assault and battery); id. ¶¶ 370–72 (Count

 VII, intentional infliction of emotional distress).

                                         III. Procedural History 7

         This is Plaintiffs’ second Rule 37 motion against Fields. See Pls.’ Mot. to Compel &

 Sanctions, ECF No. 671 (Mar. 9, 2020). In their first motion, “Plaintiffs argue[d] that Fields

 failed to fully answer the two sets of interrogatories submitted to him under Rule 33, failed to

 produce documents or permit inspection of his social media accounts and ESI as requested under

 Rule 34, and failed to obey [two] court orders directing ‘the Defendants’ or ‘each Defendant’—

 i.e., Fields included—to provide or permit discovery of relevant ESI stored online or on [that

 Defendant’s] identified electronic devices.” Mem. Op. of June 11, 2020, at 14; see id. at 18




 7
  In a previous opinion the Court discussed this case’s relevant procedural history from October 2017
 through May 2020. See generally Mem. Op. of June 11, 2020, at 2–10, 14–25. Accordingly, this section
 focuses on Fields’s more recent conduct in pretrial discovery. See Pls.’ Mot. 9–13; Pls.’ Reply Br. 6–7,
 ECF No. 1037.

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 (“Plaintiffs have not shown that the ESI Order (ECF No. 383) or the Social Media Order (ECF

 No. 582) required Fields to provide or permit the specific discovery at issue in this motion.”).

 While Plaintiffs filed that “motion ‘as both a motion to compel and a motion for sanctions,’ their

 primary concern [was] that the Court [should] give an adverse-inference instruction and impose

 evidentiary sanctions because, in their view, ‘it [was] clear Fields has not and will not produce

 discovery.’” Id. at 14–15. Plaintiffs’ request for an adverse inference related to two Christmas

 cards that Fields received from Defendant Vanguard America sometime after August 12, 2017.

 See id. at 1, 10, 22–25. Fields admitted that he threw those cards away.

         On June 11, 2020, I granted in part and denied in part Plaintiffs’ motion to compel and

 issued an order under Rule 37(a) directing Fields to cure specific defects in his responses to

 Plaintiffs’ first RFPs and first and second sets of interrogatories. Order of June 11, 2020 (“Fields

 shall have twenty-one (21) days from the date of this Order to cure the defects discussed in

 Section III.A of the [accompanying] Memorandum Opinion.”); Mem. Op. of June 11, 2020, at

 15–18 (Section III.A, discussing specific “responses to Plaintiffs’ first set of RFPs and

 interrogatories . . . and to Plaintiffs’ second set of interrogatories,” many of which “are deficient

 in form or substance”) (citing Fed. R. Civ. P. 37(a)(3)–(4)). As relevant here, the June 11 Order

 required Fields to do two things: (1) supplement his answers to Plaintiffs’ first and second sets of

 interrogatories so that they conformed with Rule 33(b); and (2) provide a Stored

 Communications Act (“SCA”) consent form “for any requested social media accounts,” id. at 18

 (emphasis added), which Plaintiffs previously sought under Rule 34, see id. at 17–18. See Pls.’

 Mot. 9–10. 8 It appears that Plaintiffs asked Fields to provide an SCA consent form only for


 8
  Following the June 11, 2020 Order, it appears that Plaintiffs asked Fields to provide an SCA consent
 form only for Discord, see Pls.’ Mot. 10–11, 20–21, 25; id. App’x A ¶¶ 38–39, ECF No. 1003-1, an
 online messaging platform that Plaintiffs have alleged “Defendants” used to plan racially motivated
 violence at Unite the Right, id. App’x A ¶ 39; see generally Sines I, 324 F. Supp. 3d at 776–77, 784–87,

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 Discord, see Pls.’ Mot. 10–11, 20–21, 25; id. App’x A ¶¶ 38–39, ECF No. 1003-1, an online

 messaging platform that Plaintiffs have alleged “Defendants” used to plan racially motivated

 violence at Unite the Right, id. App’x A ¶ 39; see generally Sines I, 324 F. Supp. 3d at 776–77,

 784–87, 789–92. Fields concedes that he did not provide an SCA form for Discord. Def. Fields’s

 Br. in Opp’n 3, 6 ECF No. 1022.

         I denied Plaintiffs’ motion for Rule 37(b) sanctions, for two reasons. See generally Mem.

 Op. of June 11, 2020, at 18–25. First, Plaintiffs failed to show that either “the ESI Order (ECF

 No. 383) or the Social Media Order (ECF No. 582) required Fields to provide or permit the

 specific discovery at issue” in that motion. Id. at 18. Thus, those orders could not provide the

 basis for sanctioning Fields under Rule 37(b)(2)(A). See id at 22. Second, Plaintiffs did not show

 that Fields threw away Vanguard America’s Christmas cards “for the purpose of depriving [his]

 adversary of evidence” that he knew was relevant to some issue in this case. See id. at 25

 (quotation marks omitted). Fourth Circuit caselaw requires proof of such knowledge before the

 district court can impose an adverse inference to sanction a party’s intentional destruction of

 material that should have been preserved for discovery. See id. at 14, 24 n.11 (citing Hodge, 360

 F.3d at 450). The record in June 2020 showed that Fields threw away the cards, but there was

 “no information about their message or contents, other than [defense counsel’s] suggestion that

 they probably were not ‘hate mail.’” Id. at 25. Thus, “[g]iving an adverse-inference instruction

 on this record would be inappropriate.” Id. I denied Plaintiffs’ request without prejudice. Id.

                                                    *
         The parties were supposed to complete most fact discovery—with the relevant exceptions

 of “additional interrogatories and/or requests for admission” and party depositions—in this case



 789–92. Fields concedes that he did not provide an SCA form for Discord. Def. Fields’s Br. in Opp’n 3, 6
 ECF No. 1022.

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 by February 5, 2020. Am. Sched. Order of Nov. 27, 2019, at 1, ECF No. 597; Mem. Op. of June

 11, 2020, at 9, 15, 19. Plaintiffs timely served their third set of interrogatories and first set of

 requests for admission (“RFAs”) on Fields in late July 2020, see Pls.’ Mot. 10–11; Am. Sched.

 Order of Nov. 27, 2019, at 1, and Fields responded to the requests in writing, Pls.’ Mot. Ex. 6,

 ECF No. 1003-8; id. Ex. 9, ECF No. 1003-11. See Fed. R. Civ. P. 33(b), 36(a)(3)–(5). Fields

 asserted the Fifth Amendment privilege against compelled self-incrimination in response to

 aspects of interrogatories asking him to “describe in detail” certain conduct and the substance of

 any communications that he had on August 12, 2017, as well as “the substance of all

 communications . . . between [himself] and any other person or entity concerning the Unite the

 Right rally.” Pls.’ Mot. Ex. 6, ¶¶ 2–3, 7. More specifically, Fields declined on Fifth Amendment

 grounds to describe: (a) his conduct on August 12, 2017, beyond the time that he entered

 “Maumee, Ohio into his GPS” and started to drive home, id. ¶ 7; (b) the substance of his

 “communications with law enforcement” on this date, id. ¶ 3; and (c) the specific details of any

 conversations that he had “with other Rally attendees who were [also] incarcerated in the weeks

 after August 12,” 2017, id. ¶ 2. 9




 9
  Fields previously invoked his Fifth Amendment privilege in response to similar questions included in
 Plaintiffs’ second set of interrogatories. See Mem. Op. of June 11, 2020, at 9–10; Pls.’ Mot. to Compel &
 Sanctions 25 n.5 (citing id. Ex. E ¶¶ 6–7, 10); Pls.’ Mot. 27 (citing id. Ex. 4, ¶¶ 6–7 (asking Fields to
 “[i]dentify . . . the nature or content of each Communication” concerning the Events that he had with a
 “member of Law Enforcement” or “any Government Official, whether before, after or during the
 Events”)). In their prior Rule 37 motion, Plaintiffs argued that Fields waived his right to object on Fifth
 Amendment grounds because his objections to their second set of interrogatories were not timely served
 under Rule 33(b). See Pls.’ Mot. to Compel & Impose Sanctions 25 n.5 (citing Fed. R. Civ. P. 33(b)(4)).
 That argument is now moot. Plaintiffs’ decision to include the substance of those questions in their third
 set of interrogatories gave Fields a new opportunity to properly invoke his Fifth Amendment right against
 compelled self-incrimination. See Fed. R. Civ. P. 26(b)(5)(A), 33(b)(4), 37(a)(3)(B)(ii); Skinner v. Armet
 Armored Vehicles, Inc., No. 4:12cv45, 2015 WL 540156, at *3 (W.D. Va. Feb. 10, 2015) (citing N. River
 Ins. Co. v. Stefanou, 831 F.2d 484, 486 (4th Cir. 1987)). Plaintiffs do not argue that Fields waived the
 privilege as it relates to their third set of interrogatories or first set of RFAs. See Pls.’ Mot. 25–27.

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         Plaintiffs served Fields with 377 requests for admission. 10 Pls.’ Mot. Ex. 9. Fields

 admitted the truth of most matters, including the facts that, prior to August 12, 2017, he knew

 that “the uniform of Vanguard America was [a] white polo shirt and khaki pants,” id. ¶¶ 9–10;

 that he “participated in” the Unite the Right rally on August 12 while wearing a white polo shirt

 and khaki pants, see id. ¶¶ 7–8, 11–32 11; and that during this rally he “communicated with

 members of Vanguard America,” id. ¶ 147, “engaged in chants promoting or expressing white-

 supremacist and other racist and anti-Semitic views,” id. ¶ 5, and “held a shield that displa[y]ed a

 symbol of Vanguard America,” id. ¶ 6. Nevertheless, Fields denied that, “prior to the Unite the

 Right rally that took place on August 12, 2017, [he] communicated with members of Vanguard

 America,” id. ¶ 148; that “as of or prior to August 12, 2017, [he was] a member of Vanguard

 America,” id. ¶ 124; that he was “aware that violence was planned against counter-protestors at

 the Unite the Right rally,” id. ¶ 132; that he personally “planned to commit violence” at the rally,

 id. ¶ 133, or that he “agreed with Vanguard America to commit violence” at the rally, id. ¶ 134.

 He similarly denied that he was “a member of” any other Defendant organization on or before




 10
    Rule 36(a)(1) allows a party to “serve on any other party a written request to admit, for purposes of the
 pending action only, the truth of any matters within the scope of Rule 26(b)(1) relating to: facts, the
 application of law to fact, or opinions about either[,] and the genuineness of any described documents.”
 Fed. R. Civ. P. 36(a)(1)(A)–(B). Put differently, the requesting party can ask another party to admit the
 truth of “any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the
 needs of the case,” Fed. R. Civ. P. 26(b)(1), and the responding party can “withhold[] information
 otherwise discoverable by claiming that the information is privileged,” Fed. R. Civ. P. 26(b)(5). See Fed.
 R. Civ. P. 36(a)(4) (“If a matter is not admitted, the answer must specifically deny it or state in detail why
 the answering party cannot truthfully admit or deny it.”); cf. Varner v. Roane, No. 5:17cv80, 2018 WL
 3244108, at *3 (W.D. Va. July 3, 2018) (explaining the Fifth Amendment privilege against compelled
 self-incrimination in the context of a plaintiff’s refusal to answer deposition questions).
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   RFAs 11 through 32 asked Fields to admit that he participated in the rally “with” other individual
 Defendants or “with members of” certain Defendant entities. See generally id. ¶¶ 11–32. Fields admitted
 that he “participated in the rally” and that the other individuals or group members “also participated in the
 rally,” but not that he participated in the rally “with” them. See generally id. (emphasis added).

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 August 12, 2017, id. ¶¶ 125–31, or that he “agreed with the other defendants in this lawsuit to

 commit violence at the Unite the Right rally,” id. ¶ 135.

        Fields also admitted facts about his Facebook, Instagram, and Twitter accounts and

 activity before August 12, 2017, as well as to the authenticity of specific online communications

 linked to those social media accounts. See, e.g., id. ¶¶ 140–42 (admitting that he “liked” and “re-

 tweeted” Twitter posts about the rally and “communicated on Twitter about the Unite the Right

 rally” prior to August 12, 2017); id. ¶ 144 (admitting that he “communicated on Instagram about

 the Unite the Right rally” before August 12, 2017); id. ¶¶ 190–91, 301–02, 308–09, 321–24, 367,

 375–77 (admitting the authenticity of records relating to specific Instagram, Twitter, and

 Facebook accounts and activity). Fields admitted creating a Discord account sometime in 2017,

 see Pls.’ Mot. Ex. 2, ¶ 2, ECF No. 1003-4, but he denied that he “communicated on Discord

 about the Unite the Right rally” prior to August 12, 2017, Pls.’ Mot. Ex. 9, ¶ 145, and that he

 either “posted” or “viewed posts” on “the Discord server named ‘Charlottesville 2.0’” prior to

 August 13, 2017, id. ¶¶ 138–39. In September 2020, Plaintiffs obtained records from the U.S.

 Department of Justice indicating that Fields registered two separate Discord accounts in July

 2017. See Pls.’ Mot. 11 (citing Pls.’ Mot. Ex. 7, ECF No. 1011-2; id. Ex. 8, ECF No. 1011-3).

        Plaintiffs assert that Fields “refused to respond to 42” of their RFAs on Fifth Amendment

 grounds. Pls.’ Mot. 11. Most of those RFAs relate to facts concerning Fields’s conduct, motive,

 and state of mind on August 12, see id. Ex. 9, ¶¶ 38–71, 122–23, 136–37, and whether he “has

 espoused violence against” African Americans, Jewish people, or “members of racial, ethnic, and

 religious groups that [he] perceived to be non-white,” see id. ¶¶ 77–79. For example, Fields

 declined on Fifth Amendment grounds to admit or deny that he “intentionally drove [his] Dodge

 Challenger towards,” “struck,” and “caused injury to” Plaintiffs Sines, Blair, Muñiz, Martin,



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 Romero, Alvarado, and/or Baker, id. ¶¶ 45–51, 54–59, 62–69, and that he was “not in reasonable

 apprehension of death or great bodily harm” when he drove his car into a crowd of people

 gathered at the intersection of Fourth Street and East Water Street, see id. ¶ 69. He also declined

 on Fifth Amendment grounds to admit or deny that he acted “because of the actual or perceived

 race, color, religion, and/or national origin[] of individuals in the crow[d].” Id. ¶ 43.

        Fields served his responses to the RFAs on August 19, 2020, and his verified responses to

 the third set of interrogatories on September 17, 2020. See Pls.’ Mot. 10–11 & n. 2. Plaintiffs

 filed this motion for Rule 37 sanctions on August 11, 2021. They did not move to compel

 Fields’s answer to any interrogatory in their third set, see Fed. R. Civ. P. 37(a)(3)–(4), or “move

 to determine the sufficiency of an[y] answer or objection” to their RFAs, Fed. R. Civ. P.

 36(a)(6), before doing so. A four-week jury trial starts on October 25, 2021.

                                                   **
        On July 24, 2020, Plaintiffs noticed Fields’s deposition to take place via videoconference

 on August 25, 2020. Pls.’ Mot. 11; see id. Ex. 10, Dep. Notice (July 24, 2020), ECF No. 1003-

 12. On August 6, Plaintiffs sought the Court’s leave to depose Fields, ECF No. 820, as any party

 must do before it may depose a person who is confined in prison, Fed. R. Civ. P. 30(a)(2)(B). I

 granted Plaintiffs’ motion because they had not yet had the opportunity to depose Fields by oral

 questions, and they were entitled to do so under Rule 26(b)(1). Order of Aug. 10, 2020.

 Plaintiffs’ counsel twice agreed to postpone the deposition into early 2021. See Pls.’ Mot. 12; id.

 Ex. 11, Am. Dep. Notice (served Dec. 16, 2020), ECF No. 1003-13; id. Ex. 12, Third Dep.

 Notice (served Jan. 5, 2021), ECF No. 1003-14. All three notices stated that Fields’s “deposition

 will take place via videoconference, as agreed upon by the parties, . . . . The deposition will be

 recorded by stenographic means, and will be recorded by video means and through the instant

 visual display of the testimony.” Pls.’ Mot. Exs. 10, 11, 12; see Fed. R. Civ. P. 30(b)(3)–(4).

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        On February 22, 2021, Fields’s counsel moved to stay Fields’s upcoming deposition,

 citing his concerns that Fields was not mentally competent to prepare for oral examination. See

 Def. Fields’s Br. in Supp. Mot. to Stay Dep. 2–3, ECF No. 926-1. Counsel also noted, “Fields

 will refuse to testify via a video deposition because of a concern that software will be used to

 manipulate his testimony making his face on the video appear to say things that he is not saying.”

 Id. The next day, Plaintiffs’ counsel responded that they had canceled the deposition scheduled

 for February 25, 2021, but that they reserved their “right to seek appropriate sanctions” based on

 Fields’s clear “refus[al] to testify.” Pls.’ Resp. in Opp’n to Mot. to Stay Dep. 2, ECF No. 927. I

 denied Fields’s motion to stay as moot. Order of Mar. 2, 2021, at 1 (“No deposition is currently

 scheduled; thus, there is nothing to stay. Moreover, Fields’s stated intention to refuse to testify

 does not provide proper grounds [for] staying his deposition.”), ECF No. 928.

        On April 14, 2021, Fields’s attorney informed Plaintiffs’ counsel that he had “received an

 email from an attorney, John Burns[,] who advised that he has served James Fields with a non-

 party witness deposition subpoena for [another] case arising from events related to August 12,

 2017.” 12 Pls.’ Mot. Ex. 13, Email from D. Campbell to S. Strauss et al. (Apr. 14, 2021 5:02 PM),

 ECF No. 1003-15, at 3. Fields’s attorney agreed to participate in the deposition via Zoom on

 April 16. Id. A few days later, he reported to Plaintiffs’ counsel that Fields was present at the

 deposition and “converse[d] with counsel for nearly an hour,” but that he “refused to be sworn in

 for his testimony” during “the attempted questioning. He refused to answer nearly all questions

 and focused on . . . his perceived mistreatment” at the federal prison where he was housed at that




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   Mr. Burns represents an individual defendant in Gilmore v. Jones, No. 3:18cv17 (W.D. Va. filed Mar.
 13, 2018).

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 time. Id. at 2. Fields also “demand[ed] to be removed from the prison to a medical facility for

 treatment and that all legal questioning/testimony be in person.” Id.

                                                IV. Discussion

         Plaintiffs’ pending Rule 37 motion seeks to impose several evidentiary sanctions against

 Fields at the upcoming jury trial. Pls.’ Mot. 6. Their requests come under Rule 37(b)(2)(A),

 which requires a showing that a party violated a prior discovery order before the court can

 impose appropriate sanctions, and under Rule 37(d)(1)(A), which permits such sanctions if a

 party failed to appear for a properly noticed deposition. See id. at 13–16. Plaintiffs argue that

 “significant but measured sanctions,” id. at 24, are necessary to “level the evidentiary playing

 field and put the Plaintiffs in the position they would have held had Fields participated properly

 in discovery,” id. at 7. See id. at 19, 23–25, 27–29.

         First, Plaintiffs ask the Court to deem established the forty-seven facts listed in Appendix

 A to their motion. Id. at 6 (citing id. App’x A ¶¶ 1–47). Plaintiffs explain that Facts 1 through 37

 “closely mirror the RFAs that Fields refused to answer” on Fifth Amendment grounds. See id. at

 27–28 (citing id. App’x A ¶¶ 1–37; id. Ex. 9 (RFA Nos. 38–71, 74, 77–79, 123, 137)). They

 further explain that Facts 38 and 39 “ask the Court to deem admitted facts related to Fields’s

 Discord accounts and his refusal to provide Plaintiffs with access to them,” while Facts 41

 through 47 take as established “facts about which Plaintiffs would have been able to ask Mr.

 Fields if he had not refused to be deposed.” Id. at 25 (citing id. App’x A ¶¶ 38–39, 41–47). 13 Fact


 13
   This subset “includes certain factual issues that Plaintiffs must prove at trial to hold [Fields] liable for
 conspiring to engage in violence against racial or religious minorities and their supporters,” Sines v.
 Kessler, 2020 WL 7028710, at *11 (W.D. Va. Nov. 30, 2020) (Sines II), as well as for injuries sustained
 “as a consequence of an overt act committed by the [D]efendants in connection with the conspiracy,”
 Sines I, 324 F. Supp. 3d at 780 (quoting A Soc’y Without A Name v. Virginia, 655 F.3d 342, 346 (4th Cir.
 2011)). See, e.g., Pls.’ Mot. App’x A ¶ 39 (“Mr. Fields refused to provide Plaintiffs with access to his
 communications from [his] Discord accounts . . . and he did so knowing that Plaintiffs have alleged
 Defendants used Discord to plan racially motivated violence at the Unite the Right [r]ally.”); id. ¶ 41

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 40 states that “Fields refused to testify at a deposition by Plaintiffs’ counsel.” Id. (citing id.

 App’x A ¶ 40). None of Plaintiffs’ proposed facts relate to the interrogatories asking Fields to

 describe the substance of his communications with law enforcement or other government

 officials. See Pls.’ Mot. 27 (arguing that Fields improperly asserted the Fifth Amendment

 privilege in response to such interrogatories). Rather, Plaintiffs ask the Court to “order an

 adverse inference jury instruction,” id. at 29, so that their case is not “‘unfairly prejudiced by

 [Fields’s] assertion of the Fifth Amendment privilege,’” see id. at 27 (quoting United States ex

 rel. DRC, Inc. v. Custer Battles, LLC, 415 F. Supp. 2d 628, 633–34 (E.D. Va. 2006)). Plaintiffs

 did not propose any language for the requested instruction. See generally id. at 6–7, 25–28; Pls.’

 Reply Br. 9–11.




 (“Mr. Fields anticipated that there would be violence at the Unite the Right [r]ally.”); id. ¶ 42 (“Mr. Fields
 entered into an agreement with one or more co-conspirators to engage in racially motivated violence in
 Charlottesville, Virginia on August 11 and 12, 2017.”); id. ¶ 45 (“It was reasonably foreseeable to Mr.
 Fields and intended by [him] that co-conspirators would commit acts of racially motivated violence and
 intimidation on August 12, 2017.”); id. ¶ 47 (“Mr. Fields committed his car attack in furtherance of the
 conspiracy to engage in racially motivated violence in Charlottesville, Virginia on August 11 and 12,
 2017.”). Fields denied many of these (or legally related) facts in his answers to Plaintiffs’ RFAs. See, e.g.,
 id. Ex. 9 ¶¶ 124, 125–31 (denying that he was “a member of” Vanguard America or of any other
 Defendant organization on or before August 12, 2017); id. ¶¶ 132–34 (denying that he was “aware that
 violence was planned against counter-protestors at the Unite the Right rally,” he “planned to commit
 violence” at the rally, or he “agreed with Vanguard America” or with any of the “other defendants in this
 lawsuit to commit violence” at the rally); id. ¶¶ 138–39 (denying that he either “posted” or “viewed
 posts” on “the Discord server named ‘Charlottesville 2.0’” before August 13, 2017); id. ¶ 145 (denying
 that he “communicated on Discord about the Unite the Right rally” prior to August 12); id. ¶ 148
 (denying that “prior to the Unite the Right rally . . . [he] communicated with members of Vanguard
 America”). Plaintiffs do not point to any reliable, uncontested evidence in the record corroborating these
 elements of their conspiracy claim. See Def. Fields’s Br. in Opp’n 5 (“Plaintiffs seek[] sanctions asking
 this Court to advise the jury of facts that have no basis in fact and remain disproven or unproven despite
 years of discovery and hundreds of thousands of documents,” and that would allow Plaintiffs to “avoid
 the burden of proof” on the conspiracy claims against Fields and other Defendants). Thus, given that
 Fields expressly denied these facts in response to Plaintiffs’ RFAs, it would not be appropriate to deem
 them admitted simply because he failed to appear for a properly noticed deposition. Cf. Custer Battles,
 415 F. Supp. 2d at 634 (explaining that the court may order an appropriately tailored adverse inference
 when a defendant in a civil action validly invokes the Fifth Amendment privilege in response to specific
 deposition questions, but that “any adverse inferences must be relevant, reliable, and not unfairly
 prejudicial, confusing, or cumulative”).

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         Second, Plaintiffs ask the Court to preclude Fields from testifying at trial because “he

 refused to give testimony during discovery.” Pls.’ Mot. 6; see also id. at 23 (collecting cases).

 Finally, Plaintiffs seek a multipart jury instruction relating to Fields’s alleged misconduct in

 pretrial discovery. See id. at 6. They ask the Court to instruct the jury that:

         (a) Fields intentionally [(i)] withheld documents and information from Plaintiffs,
         [(ii)] destroyed documents while under an obligation to preserve them, including
         correspondence between himself and Vanguard America, [(iii)] and refused to
         testify in a deposition; and (b) that the jury may draw adverse inferences from these
         facts, including that Fields chose to withhold such information and documents
         because he was aware they contained evidence that supported Plaintiffs’ claims that
         he conspired to engage in racially-motivated violence at the Unite the Right event.

 Id. at 6. The “correspondence between [Fields] and Vanguard America” refers to the two

 Christmas cards that Fields received from Vanguard America sometime after August 12, 2017,

 which he admits throwing away without notifying Plaintiffs’ counsel. See id. at 9, 19–20 (citing

 Mem. Op. of June 11, 2020, at 24–26). Plaintiffs do not identify any other documents that Fields

 allegedly destroyed or withheld.

 A.      The June 11, 2020 Order

         According to Plaintiffs, “[i]t is undisputed that Fields failed to obey the Court’s June

 2020 order to cure his deficient written discovery responses by ‘fully answer[ing] each of

 Plaintiffs’ interrogatories asking about relevant documents or communications,’ and providing

 Plaintiffs with signed SCA consents[.]” Pls.’ Mot. 15 (quoting Mem. Op. of June 11, 2020, at

 16). 14 Fields concedes that he failed to provide an SCA consent form for Discord. Def. Fields’s


 14
   In their reply brief, Plaintiffs also assert that Fields violated the June 2020 Order “by refusing . . . to
 instruct his criminal [defense] attorneys to release his documents.” Pls.’ Reply Br. 7. Neither that Order
 nor the accompanying Memorandum Opinion directed Fields to instruct the attorneys representing him in
 a parallel state-court prosecution to “release his documents” to Plaintiffs’ counsel in this case. It merely
 mentioned Fields’s criminal-defense counsel in the context of explaining that “[a]ny responsive document
 held by” those attorneys “would also be within Fields’s control for the purposes of Rule 34, if he has the
 legal right to obtain the document on demand or to authorize counsel to release it.” Mem. Op. of June 11,
 2020, at 16 (cleaned up) (emphasis added). Later that month, I largely overruled the attorneys’ motions to

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 Br. in Opp’n 3, 6. Accordingly, Rule 37(b)(2) permits the Court to “enter further just orders,”

 Fed. R. Civ. P. 37(b)(2)(A), specifically related to that violation, Ins. Corp. of Ir., 456 U.S. at

 707. See R.W. Int’l Corp., 937 F.2d at 15.

          Plaintiffs’ argument as to why Fields failed to obey the June 11, 2020 Order with respect

 to written discovery is difficult to follow. For one, Plaintiffs frequently refer to written discovery

 generally without consistently distinguishing between requests and/or responses served before

 June 11, 2020, and those served after that date. See, e.g., Pls.’ Mot. 7–8 (asserting that Fields

 “refuses to answer many of the interrogatories or requests for admission issued to him long

 ago”); id. at 10 (arguing, under the heading “Fields Refuses to Comply with the Court’s June

 2020 Order,” that Fields “continued . . . to refuse to answer interrogatories about his

 communications on Fifth Amendment grounds, including his communications with law

 enforcement,” in Plaintiffs’ third set of interrogatories) (citing id. Ex. 6, ¶ 3); id. at 18 (“Fields

 refused to explain communications he had with others, including law enforcement, about the

 [r]ally and the car attack, and he has no basis for asserting a Fifth Amendment privilege as to

 such communications.”); id. at 27 (“Fields’s continued assertion of the Fifth Amendment in

 response to Plaintiffs’ interrogatories is improper.”). The June 11, 2020 Order did direct Fields to

 fix certain defects in his responses to Plaintiffs’ first and second sets of interrogatories that his

 attorney served in April 2018 and February 2020, respectively. See Mem. Op. of June 11, 2020,

 at 15–16. It did not extend to the first set of RFAs and third set of interrogatories that Plaintiffs




 quash Plaintiffs’ subpoenas duces tecum to produce any relevant, nonprivileged information in Fields’s
 criminal case files. See generally Mem. Op. & Order of June 12, 2020, at 3–11, ECF No. 765; Order of
 June 26, 2020, at 1–5, ECF No. 783. Plaintiffs do not suggest that the attorneys failed to comply with
 those orders. See Pls.’ Reply Br. 7–8 (“Plaintiffs received documents that the DOJ, the City of
 Charlottesville[,] and Fields’s defense attorneys collected as evidence to support [criminal] claims that are
 different from the claims in this case. In fact, Plaintiffs do not even know the extent of what they are
 missing because the government only agreed to produce a select set of documents.” (emphasis added)).

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 served on Fields in late July 2020. Thus, the Order does not authorize any sanctions under Rule

 37(b)(2)(A) related to Plaintiffs’ later-served discovery requests or Fields’s answers thereto. Cf.

 Mem. Op. of June 11, 2020, at 18 (concluding that Plaintiffs’ first motion for Rule 37(b)

 sanctions failed to show that either of the court orders they cited actually “required Fields to

 provide or permit the specific discovery at issue in th[at] motion”).

        Second, contrary to Plaintiffs’ assertion, this pending Rule 37(b) motion is the first time

 Plaintiffs have “argued that Fields improperly asserted the Fifth Amendment in response to the

 interrogatories.” Pls.’ Mot. 27 (citing Pls.’ Mot. to Compel & Impose Sanctions 25 n.5). Their

 previous Rule 37(b) motion simply noted that, even if Fields had not waived the privilege with

 respect to Plaintiffs’ second set of interrogatories, “the Fifth Amendment right against self-

 incrimination does not exempt a party from civil discovery or sanctions for refusing to provide a

 complete answer.” Pls.’ Mot. to Compel & Impose Sanctions 25 n.5. That motion did not ask the

 Court to address Fields’s claims of privilege in response to specific interrogatories in the second

 set, and, as such, the accompanying Memorandum Opinion & Order did not determine the merits

 of those claims. See, e.g., Mem. Op. of June 11, 2020, at 7 (noting in the “Background” section

 that “Fields’s Fifth Amendment right against compelled self-incrimination should not have been

 a significant barrier to civil discovery after he was sentenced” on related convictions in mid-

 2019). Moreover, Plaintiffs’ decision to include questions about Fields’s communications with

 law enforcement and other government officials in their third set of interrogatories provided

 another opportunity for Fields to claim the Fifth Amendment privilege in response to those

 renewed questions. See Fed. R. Civ. P. 26(b)(5)(A), 33(b)(4), 37(a)(3)(B)(ii).

        Plaintiffs, appearing to recognize these procedural realities, spend a significant part of

 their pending Rule 37(b) motion and reply brief urging the Court to evaluate Fields’s claims of



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 privilege in the first instance, see generally Pls.’ Mot. 25–29; Pls.’ Reply Br. 9–15, and to

 sanction (or remedy) his “refusal” on those grounds to answer certain written discovery. For

 example, Plaintiffs assert that Fields cannot rely on the Fifth Amendment privilege to avoid

 answering interrogatories about his communications with law enforcement and other government

 officials because those third parties “are already in possession of the information” sought. Pls.’

 Mot. 27 (quoting Ramos v. Town of E. Hartford, No. 3:16cv166, 2016 WL 7340282, at *3 (D.

 Conn. Dec. 19, 2016)). Thus, requiring Fields to describe the substance of these communications

 would not expose him to any “greater risk of prosecution.” Ramos, 2016 WL 7340282, at *3.

 Plaintiffs ask the Court to sanction Fields’s failure to answer those interrogatories by giving “an

 adverse inference jury instruction,” Pls.’ Mot. 29, but they did not propose any language for this

 specific instruction. See generally id. at 6–7, 25–28; Pls.’ Reply Br. 9–11.

        Unlike in criminal proceedings, where the judge and prosecutor should not “suggest[] to

 the jury that it may treat the defendant’s silence as substantive evidence of guilt,” the prevailing

 rule in civil actions is that “the Fifth Amendment does not forbid adverse inferences against

 parties . . . when they refuse to testify in response to probative evidence offered against them,”

 Baxter v. Palmigiano, 425 U.S. 308, 318–19 (1976). See ePlus Tech., Inc. v. Aboud, 313 F.3d

 166, 179 (4th Cir. 2002) (“[S]ilence in the face of accusation is a relevant fact not barred from

 evidence by the Due Process Clause.”) (quoting Baxter, 425 U.S. at 319)). Some district courts

 within the Fourth Circuit follow a two-step inquiry to determine “whether an adverse inference is

 an appropriate and constitutionally permissible remedy for a civil defendant’s assertion of his

 privilege against [compelled] self-incrimination.” See Custer Battles, 415 F. Supp. 2d at 632–33.

 First, the court considers “whether there was a valid basis” for the defendant’s refusal to answer

 a discovery request on Fifth Amendment grounds. See id. at 633 & n.7; see generally Hiibel v.



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 Sixth Judicial Dist. Ct. of Nev., Humbolt Cnty., 542 U.S. 177, 190 (2004) (“[T]he Fifth

 Amendment privilege against compulsory self-incrimination protects against any disclosures that

 the witness reasonably believes could be used in a criminal prosecution or could lead to other

 evidence that might be so used.”). “Illegitimate assertions of the privilege serve no constitutional

 purpose,” and adverse inferences can be used in “appropriate” circumstances “to ensure that

 courts, parties, and juries are not deprived of relevant evidence and to prevent the mischief and

 unfairness that might flow from an invalid invocation of the privilege.” Custer Battles, 415 F.

 Supp. 2d at 633. Second, even if the privilege was validly invoked, the court must “assess[]

 whether the requested inferences, which are a form of evidence, comply with the Federal Rules

 of Evidence. . . . [A]ny adverse inferences must be relevant, reliable, and not unfairly prejudicial,

 confusing, or cumulative.” Id. at 634 (citing Fed. R. Evid. 101, 402, 403, 602, 1101). The latter

 assessment requires the court to evaluate the substance of both the underlying evidence

 originally sought by the moving party and the proposed adverse inference that may be drawn

 from a party’s silence in response that request. See, e.g., Maryland v. Universal Elections, Inc.,

 862 F. Supp. 2d 457, 464 (D. Md. 2012) (granting plaintiff’s request for an adverse inference

 where defendant’s “refusal to answer basic questions about his knowledge corroborate[d] the

 reasonable inference that he had knowledge of the relevant . . . regulations through his extensive

 campaign experience”); Custer Battles, 415 F. Supp. 2d at 632–36 (evaluating separately

 movant’s requested adverse inferences for witness’s refusal to answer six deposition questions

 and “reduc[ing] the number of requested inferences to those few that relate to the heart of the

 alleged fraud, and which have the most reliable basis”).

        Plaintiffs did not request an adverse inference specific to their interrogatories asking

 Fields to describe the substance of his communications with law enforcement and government



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 officials on August 12, 2017. Their proposed language for a catch-all adverse-inference jury

 instruction—i.e., that “Fields intentionally withheld documents and information from Plaintiffs .

 . . because he was aware they contained evidence that supported Plaintiffs’ claims that he

 conspired to engage in racially-motivated violence at the Unite the Right event,” Pls.’ Mot. 6

 (emphasis added)—goes well beyond the information Plaintiffs sought in those interrogatories.

 Thus, while Fields’s invocation of the Fifth Amendment privilege in response to those questions

 appears contrary to law, see Ramos, 2016 WL 7340282, at *3, I find that Plaintiffs’ request for

 an adverse-inference instruction is not an appropriate remedy in this case.

        Plaintiffs concede that Fields “validly asserted his Fifth Amendment right” in response to

 the RFAs while his related state-court convictions are pending appeal. See Pls.’ Mot. 27–28

 (citing United States v. Kennedy, 372 F.3d 686, 691 (4th Cir. 2004)). Nonetheless, they argue—

 for the first time in this litigation—that “the Court may and should ‘level the playing field’ by

 ordering” that their proposed facts be established, id. at 28, or that each of those RFAs be

 “deemed admitted,” id. (citing Fed. R. Civ. P. 36(a)(6)). Rules 36(a) and 37(a) explicitly allow

 the party requesting discovery to seek a court ruling as to whether a responding party properly

 invoked a recognized privilege, including the Fifth Amendment, in response to the requesting

 party’s timely served RFAs and interrogatories. See Fed. R. Civ. P. 36(a)(6), 37(a)(3)(B)(iii).

 Plaintiffs knew about Fields’s claim of privilege, at the very latest, when Fields served his

 responses to the first RFAs and third set of interrogatories in August and September 2020,

 respectively. Yet, they waited almost a full year—and two months before the jury trial is finally

 set to begin—to raise the issue in a Rule 37 motion for sanctions. Plaintiffs offer no persuasive

 explanation why they did not first move for an appropriate order under Rules 36(a) and 37(a), or

 why they did not bring Fields’s allegedly insufficient answers to the Court’s attention earlier. Cf.



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 Reed v. Beverly Hills Porsche, No. 6:17cv59, 2018 WL 10396252, at *2 (W.D. Va. Jan. 26,

 2018) (Moon, J.) (“Simply put, the law does not require a trial judge to indulge discovery

 motions filed after a court-imposed deadline when the party had a fair opportunity to pursue the

 matter before the deadline.”)); Mem. Op. of June 11, 2020, at 19 (declining to “add Fields’s

 name to the ESI Order,” which explicitly excluded him, in part because Plaintiffs did not bring

 “to the Court’s attention Fields’s purported noncompliance before written discovery closed on

 February 5, 2020”).

        Accordingly, Plaintiffs’ Rule 37(b) motion will be granted only with respect to Fields’s

 failure to provide an SCA consent form for his Discord accounts. Nonetheless, because Fields

 concedes that “Plaintiffs can fairly seek a sanction for some of the underlying statements” in

 RFAs to which he invoked the Fifth Amendment privilege, Def. Fields’s Br. in Opp’n 4, I will

 consider whether an order deeming Fields to have admitted Plaintiffs’ corresponding proposed

 facts would be appropriate in this case, see Fed. R. Civ. P. 36(a)(6). Cf. Custer Battles, 415 F.

 Supp. 2d at 633 (“When the [Fifth Amendment] privilege is invoked during discovery, th[e]

 validity issue is typically resolved via a motion to compel. Although this did not occur here, the

 parties do not seriously dispute that Morris had a valid basis for asserting the privilege.”

 (footnote omitted)); Gradillas Court Reporters, Inc. v. Cherry Bekaert, LLP, No. 2:17cv597,

 2018 WL 10470916, at *5 (E.D. Va. Apr. 13, 2018) (explaining that the court could not rule on

 plaintiff’s motion for sanctions, which included a “request to deem facts admitted” where

 witness invoked the Fifth Amendment privilege, because fact discovery was still open).

 B.     Fields’s Deposition

        Plaintiffs’ request for evidentiary sanctions related to Fields’s deposition comes under

 Rule 37(b)(2)(A) and Rule 37(d)(3). See Pls.’ Mot. 14–16 (citing Barker, 2010 WL 2650885, at



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 *1–2 (finding that an order granting plaintiff leave to depose incarcerated defendant, entered

 under Rule 30(a)(2)(B), was an order to provide or permit discovery within the meaning of Rule

 37(b)(2)). Rule 37(d) permits a court to impose appropriate sanctions, including those “listed in

 Rule 37(b)(2)(A)(i)–(vi),” when a party fails, after being served with proper notice, to appear for

 his own deposition. Fed. R. Civ. P. 37(d)(1)(A)(i), (d)(3). This rule applies either when the

 person is not present for his properly noticed deposition, Fed. R. Civ. P. 37(d)(1)(A)(i), or when

 he is present but refuses, without an acceptable excuse, to be examined under oath, see Fed. R.

 Civ. P. 30(b)(3)(A), (c)(1). See, e.g., Steel v. ARI Mut. Ins. Co., Civ. Act. No. 14-27, 2015 WL

 4429258, at *1–2, *4 (E.D. La. July 20, 2015) (imposing sanctions under Rule 37(d) where

 parties agreed to cancel defendant’s deposition as futile after his attorney could not contact him);

 Naseer v. Racine Cnty., Civ. No. 09-C-788, 2011 WL 5180941, at *1 (E.D. Wis. Oct. 28, 2011)

 (dismissing case under Rule 37(d)(3) where incarcerated plaintiff “refused to be sworn in and/or

 otherwise provide testimony in a properly noticed videotape deposition”) (citing Collins v.

 Illinois, 554 F.3d 693, 694 (7th Cir. 2009)); Stewart v. Wachowski, No. CV 03-2873, 2005 WL

 6186374, at *5 (C.D. Cal. June 14, 2005) (“[A] party fails to appear for her deposition, within

 the meaning of Rule 37(d), where, as here, the party unilaterally cancels the deposition

 immediately prior to the date on which it is noticed.”); Bray v. Memphis State Univ., 88 F.R.D.

 90, 91 (W.D. Tenn. 1980) (awarding reasonable costs under Rule 37(d)(3) where plaintiff

 appeared at the designated time, but “refused to be deposed”); Bourne, Inc. v. Romero, 23 F.R.D.

 292, 296–97 (E.D. La. 1959) (defendants’ “physical presence at the site selected [for oral

 deposition] did not constitute ‘appearances’ in the sense required by the Federal Rules of Civil

 Procedure” where defendants “refused to take oath in order that they could be examined

 properly”); cf. Black Horse Lane Assocs., L.P. v. Dow Chem. Corp., 228 F.3d 275, 304 (3d Cir.



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 2000) (“In reality if a Rule 30(b)(6) witness is unable to give useful information he is no more

 present for the deposition than would be a deponent who physically appears for the deposition

 but sleeps through it.”); LaFluer v. Dollar Tree Stores, No. 2:12cv363, 2013 WL 12181782, at

 *7 (E.D. Va. Oct. 7, 2013) (awarding reasonable costs under Rule 37(d)(3) where plaintiff

 “unilaterally terminated and walked out of the deposition”) (citing Bray, 88 F.R.D. at 91).

        Plaintiffs first served Fields with proper notice of oral deposition on July 24, 2020. Pls.’

 Mot. Ex. 10. That deposition was to “take place via videoconference, as agreed upon by the

 parties,” and would be recorded by stenographic means and “by video means and through the

 instant visual display of the testimony.” Id. On August 10, I granted Plaintiffs’ Rule 30(a)(2)

 motion because they had not yet had the opportunity to depose Fields by oral questions, and they

 were entitled to do so under Rule 26(b)(1). Plaintiffs’ counsel twice agreed to postpone the

 deposition into early 2021. That January, they served Fields with proper notice of oral deposition

 to be held on February 25, 2021. The notice again stated that the deposition would “take place

 via videoconference, as agreed upon by the parties,” and would be recorded by both stenographic

 and “video means and through the instant visual display of the testimony.” Pls.’ Mot. Ex. 12.

 Three days beforehand, Fields’s counsel moved to stay this deposition based on counsel’s

 concerns that Fields was not mentally competent to prepare for oral examination. See Def.

 Fields’s Br. in Supp. Mot. to Stay Dep. 2–3. He also noted, “Fields will refuse to testify via a

 video deposition because of a concern that software will be used to manipulate his testimony

 making his face on the video appear to say things that he is not saying.” Id. Plaintiffs canceled

 the deposition as futile. I denied Fields’s motion to stay as moot, but I made clear that his “stated

 intention to refuse to testify [did] not provide proper grounds [for] staying his deposition” had

 Plaintiffs’ counsel decided to go forward. Order of Mar. 2, 2021, at 1; cf. Rowley v. City of N.



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 Myrtle Beach, Civ. No. 4:06-1873, 2008 WL 11348728, at *4 (D.S.C. May 30, 2008) (“There

 appears to be no limitation on Defendants’ right to record Plaintiff’s deposition on videotape. A

 party noticing a deposition has no burden to justify the decision to videotape the deposition.”

 (internal quotation marks omitted)).

        Fields suggests that, after I denied his motion to stay, Plaintiffs should have moved to

 compel his attendance at another deposition before they moved for Rule 37 sanctions. See Def.

 Fields’s Br. in Opp’n 4. I disagree. Such sanctions were authorized under the plain text of Rule

 37(d)(1)(A)(i) when Fields, after being served with proper notice under Rule 30(b), stated he

 would refuse to appear via videoconference or testify on video tape at the deposition scheduled

 for February 25, 2021. Cf. Steel, 2015 WL 4429258, at *1–2, *4 (imposing sanctions under Rule

 37(d) where the parties agreed to cancel defendant’s deposition as futile after his attorney could

 not contact him); Naseer, 2011 WL 5180941, at *1–2 (dismissing case under Rule 37(d) where

 incarcerated plaintiff “refused to be sworn in and/or otherwise provide testimony in a properly

 noticed videotape deposition”); Stewart, 2005 WL 6186374, at *5 (“[A] party fails to appear for

 her deposition, within the meaning of Rule 37(d), where, as here, the party unilaterally cancels

 the deposition immediately prior to the date on which it is noticed.”). Plaintiffs’ counsel “was

 authorized to use multiple recording methods, including videography, as long as proper notice

 was provided,” Naseer, 2011 WL 5180941, at *2; see Fed. R. Civ. P. 30(b)(3), and Fields

 repeatedly agreed that his deposition could be taken by remote means and videorecorded, see

 Fed. R. Civ. P. 30(b)(3)–(4). Now, Fields has made clear that he will refuse to be sworn and/or

 testify on recorded video. See Pls.’ Ex. 13, Email from D. Campbell to S. Strauss et al. (Apr. 14,

 2021 5:02 PM), ECF No. 1003-15, at 2–3; Def. Fields’s Br. in Supp. Mot. to Stay Dep. 2–3.

 Making Plaintiffs file an unnecessary motion to compel under these circumstances would have



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 only further forestalled their “ability to get discovery to which they are entitled,” Order of Sept.

 16, 2020, at 7, ECF No. 877 (Moon, J.). See Fed. R. Civ. P. 1 (“These rules . . . . should be

 construed, administered, and employed by the court and the parties to secure the just, speedy,

 and inexpensive determination of every action and proceeding.”). Accordingly, the Court will

 impose an appropriate sanction under Rule 37(d)(3). 15

 C.      Vanguard America’s Christmas Cards

         Next, Plaintiffs renew their request for an order instructing the jury that Fields “destroyed

 documents while under an obligation to preserve them, including correspondence between

 himself and Vanguard America,” and that the jury may draw an adverse inference that Fields

 destroyed those documents “because he was aware they contained evidence that supported

 Plaintiffs’ claims that he conspired to engage in racially motivated violence at the Unite the

 Right event.” Pls.’ Mot. 6. As noted, the broad references to “documents” and “correspondence

 between [Fields] and Vanguard America,” id. (emphasis added), in this proposed instruction

 refer to the two Christmas cards that Fields received from Vanguard America sometime after

 August 12, 2017. See id. at 9, 19–20 (citing Mem. Op. of June 11, 2020, at 24–26). There is no

 indication that Fields solicited or responded to the cards he received. See Pls.’ Mot. to Compel &

 Impose Sanctions 9; Def. Fields’s Br. in Opp’n to Pls.’ Mot. to Compel & Impose Sanctions 6,

 ECF No. 686. Because Fields had a duty to preserve those documents for another party’s use in

 this litigation, however, Plaintiffs may be able to show that their requested adverse-inference



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    I do not find that the order granting Plaintiffs leave to depose Fields, entered under Rule 30(a)(2)(B),
 was “an order to provide or permit discovery” within the meaning of Rule 37(b)(2)(A). The order merely
 allowed Plaintiffs’ counsel access to a person confined in a penal institution, see Ashby v. McKenna, 331
 F.3d 1148, 1150 (10th Cir. 2003) (suggesting that the Rule’s apparent purpose is to prevent disruptions in
 prison administration), and did not impose any additional obligation beyond the requirements in Rule 30
 for Fields “to submit to deposition,” Moon v. Newsome, 863 F.2d 835, 837 (11th Cir. 1989), or require
 him to take any other particular action, Carriage Hill Mgmt., 2018 WL 3329588, at *5.

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 instruction is an appropriate sanction for his failure to do so. See Mem. Op. of June 11, 2020, at

 22–25; Blue Sky Travel & Tours, LLC v. Al Tayyar, 606 F. App’x 689, 698 (4th Cir. 2015).

        I previously found that “Fields’s failure to save Vanguard America’s cards was negligent,

 ‘perhaps even grossly negligent,’ considering that he received them after being arrested for his

 conduct at the [r]ally, and possibly” even after his attorney responded on his behalf to Plaintiffs’

 first set of discovery requests in April 2018. See Mem. Op. of June 11, 2020, at 24 (quoting

 Ackerson v. Rector & Visitors of the Univ. of Va., No. 3:17cv11, 2018 WL 3097346, at *9 (W.D.

 Va. Apr. 11, 2018), adopted by 2018 WL 3097334, at *4–6 (W.D. Va. June 22, 2018) (Moon,

 J.)). In the Fourth Circuit, negligence is not a sufficiently “culpable state of mind” to support an

 adverse-inference sanction against the person who lost or destroyed relevant evidence. See id. at

 14, 24 & n.11 (citing Hodge, 360 F.3d at 450). Thus, Plaintiffs must demonstrate that the

 greeting cards were “relevant” insofar as “a reasonable factfinder could conclude that the lost

 evidence would have supported” their claims, Sampson v. City of Cambridge, 251 F.R.D. 172,

 181 (D. Md. 2008), and that Fields knew the cards were relevant when he threw them away, see

 id. (citing Hodge, 360 F.3d at 450–51). See Mem. Op. of June 11, 2020, at 22–25.

        In June 2020, I denied Plaintiffs’ request without prejudice because neither party had

 produced any concrete “information about [the cards’] message or contents.” See Mem. Op. of

 June 11, 2020, at 24–25 (“At this point, all the Court knows about Vanguard America’s cards is

 that Fields received them sometime after August 2017. There’s no information about their

 message or contents, other than Mr. Campbell’s suggestion that they probably were not ‘hate

 mail.’”). “While it [was] possible the lost Christmas cards would have supported Plaintiffs’ claim

 that Fields conspired with other alleged Vanguard America members to commit racially

 motivated violence” at Unite the Right, id. at 25 (emphasis added), that possibility was not



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 grounded in any record evidence. See, e.g., E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc.,

 803 F. Supp. 2d 469, 498 (E.D. Va. 2011) (noting that the movant must establish relevance “by

 offering probative evidence, not the hyperbole of argument,” that the lost materials were “likely

 to have been favorable to its case”); Sampson, 251 F.R.D. at 181 (noting that the movant must

 show “a reasonable possibility, based on concrete evidence rather than fertile imagination, that

 access to the lost material would have produced evidence favorable to [its] cause” (quoting Gates

 Rubber Co. v. Bando Chem. Indus., Ltd., 167 F.R.D. 90, 104 (D. Colo. 1996)). Put differently,

 Plaintiffs’ request for an adverse-inference sanction relies upon speculation and “hyperbole of

 argument,” E.I. du Pont de Nemours, 803 F. Supp. 2d at 498, to show that Fields knew the cards

 from Vanguard America “would ‘expose relevant, unfavorable facts’ about their alleged

 association,” Mem. Op. of June 11, 2020, at 25 (quoting Sampson, 251 F.R.D. at 181). “Thus,

 even assuming spoliation occurred, the Court [could not] yet conclude Fields threw away the

 Christmas cards ‘for the purpose of depriving [his] adversary of evidence’” favorable to their

 cause. Id. (quoting Powell v. Town of Sharpsburg, 591 F. Supp. 2d 814, 820 (E.D.N.C. 2008)).

 More than a year later, Plaintiffs still have not produced any concrete information that would

 authorize an adverse-inference instruction under Fourth Circuit caselaw. See id. (citing Sampson,

 251 F.R.D. at 181).

        Plaintiffs assert that Fields’s failure to appear for his deposition prevented them from

 securing the evidence they need to show that Vanguard America’s greeting cards were relevant,

 and that Fields destroyed them in bad faith. See Pls.’ Mot. 19–20 (citing Mem. Op. of Aug. 9,

 2019, ECF No. 539; Mem. Op. & Order of Nov. 30, 2020, ECF No. 910; Mem. Op. & Order of

 Mar. 30, 2021, ECF No. 936). I disagree. First, while Plaintiffs could have asked Fields to

 answer these specific questions in their RFAs or third set of interrogatories, they did not do so.



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 Indeed, they asked other questions about the greeting cards, which Fields answered. See, e.g.,

 Pls.’ Mot. Ex. 6, ¶ 2 (“Describe in detail the substance of all communications, whether oral or

 written, between you and any other person or entity concerning the Unite the Right rally.

 ANSWER: Fields recalls receiving correspondence in jail that can predominately be described as

 hate mail. Fields did receive a small percentage of supportive letters from various unknown

 sympathizers or members of organizations that attended or supported the [r]ally. Fields did not

 know these people prior to Unite the Right. . . . Fields recalls receiving two Christmas cards from

 Vanguard America while incarcerated.”); id. Ex. 9, ¶ 150 (“Admit that you received Christmas

 cards from Vanguard America. RESPONSE: Admitted that Fields received Christmas cards from

 Vanguard America in prison.”); id. ¶ 151 (“Admit that, after you became aware of this lawsuit,

 you destroyed Christmas cards you received from Vanguard America without producing them to

 Plaintiffs. RESPONSE: Admitted.”).

        Second, the nature of the greeting cards undercuts Plaintiffs’ assertions about their

 contents. The information before the Court shows that sometime––presumably at least several

 months––after the events of the Unite the Right rally, an unknown person purporting to be

 associated with Vanguard America sent unsolicited Christmas cards to Fields, who was

 incarcerated in a secure facility. Nothing about these circumstances suggests that the contents of

 the cards, which Fields did not author, were likely to contain any statements from which a

 reasonable factfinder could conclude that Fields “conspired with other alleged Vanguard

 America members to commit racially motivated violence” on August 12, 2017. See Mem. Op. of

 June 11, 2020, at 25 (assuming without deciding that the documents were relevant). Accordingly,

 the Court will deny Plaintiffs’ request for an adverse-inference instruction. See Pls.’ Mot. 6. The




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 appropriate sanction to fit Fields’s refusal to testify at his deposition it to preclude him from

 testifying in his own defense at trial.

 D.      Appropriate Sanctions

         Fields violated the June 11, 2020 Order insofar as he failed to provide an SCA consent

 form for his Discord accounts. Thus, the Court may sanction him under Rule 37(b)(2) for this

 failure, “both as a matter of justice” in this case “and ‘to deter others who might be tempted to

 similar conduct,’” Lee v. Max Int’l, 638 F.3d 1318, 1320 (10th Cir. 2011) (Gorsuch, J.) (quoting

 Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639, 643 (1976)). Choosing the

 appropriate sanction, if any, requires me to consider whether Fields acted in bad faith, the kind

 and degree of prejudice that his failure to obey the June 11 Order caused Plaintiffs, and whether

 alternative, less severe sanctions would provide an effective remedy and deterrent. See S. States

 Rack & Fixture, 318 F.3d at 597. As noted, “[t]he presence or absence of any one of these factors

 is generally not decisive,” First Mariner Bank, 2013 WL 5797381, at *4, because the court has

 broad discretion to “make whatever disposition is just in light of the facts of the particular case,”

 id. (internal quotation marks omitted). The court “is free to consider the full record” and its own

 familiarity with the case in exercising such discretion. S. New England Tele. Co. v. Global NAPs,

 Inc., 624 F.3d 123, 144 (2d Cir. 2010).

         In the Fourth Circuit, “[b]ad faith can be established by ‘noncompliance [or] haphazard

 compliance . . . [with] discovery orders.’” LeCompte v. Manekin Constr., LLC, 573 B.R. 187,

 195 (D. Md.), aff’d 706 F. App’x 811 (4th Cir. 2017) (quoting Mut. Fed. Sav. & Loan, 872 F.3d

 at 93)). A “party’s failure to provide a ‘satisfactory reason,’” id. (quoting Aerodyne Sys. Eng’g,

 Ltd. v. Heritage Int’l Bank, 115 F.R.D. 281, 290 (D. Md. 1987)), why he did not comply “is

 further evidence of bad faith,” id. See Woodbury v. Victory Van Lines, No. TDC-16-2532, 2019



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 WL 2135649, at *4 (D. Md. May 16, 2019). I issued a “very specific discovery order[],” Mut.

 Fed. Sav. & Loan, 872 F.2d at 93, clearly directing Fields to provide an SCA consent form for

 any requested social media platform. Fields admits that he did not provide a form for Discord,

 see Def. Fields’s Br. in Opp’n 3, 6, and he offers no explanation for that failure. This tends to

 suggest that Fields disobeyed my order in bad faith. See Woodbury, 2019 WL 2135649, at *4.

         Even assuming bad faith, however, Plaintiffs have not shown that Fields’s failure to

 provide an SCA consent form allowing Discord to respond to Plaintiffs’ subpoena in this case

 caused the kind and degree of prejudice that would justify their requested evidentiary sanctions

 under Rule 37(b)(2)(A). See generally Mem. Op. of Aug. 9, 2019, at 32–34 (discussing

 procedural and substantive prejudice). Fields’s noncompliance required Plaintiffs to divert some

 time and resources towards obtaining the relevant information from the U.S. Department of

 Justice 16, see Pls.’ Mot. 11 (citing Pls.’ Mot. to Compel, ECF No. 816 (July 24, 2020)), which

 prejudiced their ability complete discovery in a just, speedy, and inexpensive manner, see Mem.

 Op. of Aug. 9, 2019, at 33. Granting Plaintiffs their reasonable expenses caused by Fields’s

 failure to provide the SCA consent form is an appropriate sanction to penalize Fields’s

 disobedience and deter future discovery misconduct. See, e.g., Mem. Op. of Aug. 9, 2019, at 31–

 34 (citing Fed. R. Civ. P. 37(b)(2)(C)); Progressive Minerals v. Rashid, No. 5:07cv108, 2009

 WL 2761295, at *4 (N.D. W. Va. Aug. 28, 2009).




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   Plaintiffs assert that “Fields’s refusal to give SCA consents . . . forced Plaintiffs into protracted,
 expensive, and time-consuming litigation with both the DOJ and Fields’s criminal [defense] counsel—
 which included multiple hearing[s] and motions litigating objections and motions to quash.” Pls.’ Reply
 Br. 8 (emphasis added). The defense attorneys’ motions to quash Plaintiffs’ subpoenas duces tecum for
 information contained in Fields’s client file had been fully briefed and argued when I issued the relevant
 discovery order to Fields on June 11, 2020. Thus, Plaintiffs’ decision to subpoena defense counsel was
 not the result of Fields’s failure to obey my order directing him to provide SCA consent forms for
 Discord.

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        Plaintiffs maintain that Fields’s failure to provide an SCA consent form for his Discord

 accounts also caused substantive prejudice insofar as it “hinder[ed] their ability to put forth the

 strongest case possible,” Pls.’ Mot. 19, against Fields and his purported co-conspirators. See

 generally id. at 10–11, 18–22; Pls.’ Reply Br. 7–8. For example, they explain Discord was the

 primary platform that “Defendants” used to plan the Unite the Right rally and that Fields’s

 refusal to give consent renders Plaintiffs “unable to obtain evidence about his accounts from

 Discord, how he used them, and with whom he communicated.” Pls.’ Mot. 21. I disagree that

 Fields’s failure caused substantive prejudice to the extent justifying an order deeming established

 the fact that he “refused to provide Plaintiffs with access to his communications for the Discord

 accounts . . . knowing that Plaintiffs have alleged Defendants used Discord to plan racially

 motivated violence,” Pls. Mot. 25 (citing id. Pls.’ Mot. App’x A, ¶ 39). The Court has awarded

 similar sanctions against other Defendants for whom Plaintiffs (1) specifically alleged had some

 role in planning the Unite the Right rally, and (2) already had evidence indicating that the

 Defendant or its officer(s) discussed those plans on Discord. See generally Sines II, 2020 WL

 7028710, at *3–4, *8, *11–12, *16 (Elliott Kline); Sines v. Kessler, 2021 WL 1208924, at *5–7

 (W.D. Va. Mar. 30, 2021) (Vanguard America officers Dillon Hopper and Thomas Ryan

 Rosseau); Sines v. Kessler, 2021 WL 4314590, at *2, *8 (W.D. Va. Sept. 22, 2021) (Robert

 “Azzmador” Ray). Plaintiffs do not allege that Fields was one of the rally’s organizers, and

 Fields has specifically denied that he “communicated on Discord about the Unite the Right rally”

 prior to August 12, 2017. Pls.’ Mot. Ex. 9, ¶ 145. Fields further denied that he either “viewed

 posts on” or “posted on the Discord server named ‘Charlottesville 2.0,’” id. ¶¶ 138–39, which

 was the primary Discord server or channel that Kline and others used to plan the rally.




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         Moreover, while Plaintiffs have substantial evidence of other Defendants’ Discord

 activity, no evidence presented to date indicates than any of those Defendants or their agents

 communicated with Fields on Discord. If Fields did use his Discord accounts to communicate

 about the rally with other Defendants, then one would expect to find such evidence in some other

 Defendant’s messages. Without such evidence, Plaintiffs’ speculative belief that additional

 relevant communications might exist does not justify their requested evidentiary sanction. Their

 proposed language that Fields refused to provide access to his Discord accounts knowing that

 Plaintiffs have alleged other Defendants used the platform to plan racially motivated violence at

 Unite the Right also risks “blur[ring] into a single inference,” Custer Battles, 415 F. Supp. 2d at

 636, Fields’s discovery intransigency with evidence bearing on the other Defendants’ actions.

                                                    *

         An order prohibiting Fields from testifying in his own defense at trial, see Fed. R. Civ. P.

 37(b)(2)(A)(ii), is an appropriately tailored sanction for Fields’s failure to appear for his properly

 noticed deposition. See, e.g., Steel, 2015 WL 4429258, at *4 (order precluding defendant from

 testifying at trial was appropriate sanction under Rule 37(d) “because plaintiff was not able to

 depose him” during discovery); cf. Montanile v. Botticelli, No. 1:08cv716, 2009 WL 2378684, at

 *1, *4–6 (E.D. Va. July 28, 2009) (order precluding plaintiff from testifying at trial, both in

 support of her own claims and in defense of counterclaims, was appropriate sanction under Rule

 37(b) where plaintiff disobeyed court order requiring her to reappear for deposition and to fully

 answer defendant’s interrogatories); Stewart, 2005 WL 6186374, at *8 (order precluding plaintiff

 from testifying was “appropriate sanction for her repeated failure to appear for deposition and

 make discovery responses”). It is not anticipated that Fields will testify at the jury trial. See, e.g.,

 Def. Fields’s Witness List, ECF No. 1042; Pls.’ Prelim. Witness List 2–3, ECF No. 1047. But see



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 Def. Cantwell’s Witness List 1 (listing Fields among the witnesses who Cantwell “may call in

 his case in main”), ECF No. 1086; Def. Cantwell’s Obj. to Pls.’ Mot. 1 (“I have a limited number

 of questions I would like my co-defendant [James Fields] to answer, such as if he ever listened to

 my podcast, and what went through his mind when Dwayne Dixon pointed an AR-15 at him just

 before the car crash.”), ECF No. 1055. Nonetheless, Fields’s failure to appear for his deposition

 “had the practical effect of keeping [Plaintiffs] in the dark about what []he knew, what []he did,

 and what []he would testify to [if] called to the stand.” Montanile, 2009 WL 2378684, at *6.

 Accordingly, it would be unfair to allow Fields to testify in his defense for the first time at trial.

                                                    **

         Plaintiffs concede that Fields validly asserted his Fifth Amendment privilege in response

 to their RFAs while his convictions for first-degree murder and malicious wounding are pending

 appeal in state court. See Pls.’ Mot. 27–28 (citing Kennedy, 372 F.3d at 691). “[L]ike the

 assertion of any privilege,” Fields’s refusal on Fifth Amendment grounds to admit or deny

 relevant facts sought in these RFAs “stands in stark opposition to the otherwise liberal discovery

 rules, and undermines to some degree the trial system’s capacity to ascertain the truth.” Custer

 Battles, 415 F. Supp. 2d at 632 (cleaned up). “And, while there is no doubt that a [party] is

 entitled to assert the privilege in a civil case, it is also clear that an adverse inference based on a

 refusal to answer [specific questions] in a civil case is an appropriate remedy as it provides some

 relief for the civil litigant whose case is unfairly prejudiced” by his adversary’s assertion of the

 Fifth Amendment. Id. at 632–33 (cleaned up). Rather than seeking an adverse-inference

 instruction appropriately tailored to each RFA, however, Plaintiffs primarily seek an order

 deeming the underlying facts established. Pls.’ Mot. 27–29 (citing id. App’x A ¶¶ 1–37); see

 Custer Battles, 415 F. Supp. 2d at 632–36 (considering whether each requested adverse inference



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 was relevant, reliable, and not unfairly prejudicial, confusing, or cumulative, and concluding that

 some of the requested inferences were cumulative or risked misleading the jury to the detriment

 of all defendants). Plaintiffs do not cite any law, and I can find none, that supports allowing such

 an order to remedy a civil defendant’s valid assertion of the Fifth Amendment privilege. See Pls.’

 Mot. 28 (“[W]hile Fields may assert that right, it should not be ‘without consequences’ in this

 civil case. It is plain as a matter of law that the Court should ‘level the playing field’ by ordering

 that the facts in Appendix A be established.”). Accordingly, the Court will deny Plaintiffs’

 request to deem these facts established, either as a sanction or as a remedy for Fields’s reliance

 on the Fifth Amendment privilege.

        Plaintiffs correctly note that many of their proposed facts are corroborated by, if not

 directly drawn from, written statements that Fields made under oath when he pleaded guilty to

 federal hate crimes arising out of the August 12 car attack. Pls.’ Mot. 28–29; see, e.g., Pls.’ Mot.

 App’x A ¶ 7 (“Mr. Fields intentionally drove his Dodge Challenger towards a group of

 pedestrians in Charlottesville, Virginia.”); id. ¶ 15 (“Mr. Fields intentionally drove his Dodge

 Challenger into a group of pedestrians in Charlottesville, Virginia.”); id. ¶ 32 (“Mr. Fields pled

 guilty to twenty-nine (29) counts of violating 18 U.S.C. § 249(a)(1) because he is, in fact, guilty

 of what was charged in those counts.”). But see id. ¶¶ 22–28 (proposed facts that Fields “caused

 physical and emotional injury” to certain plaintiffs); id. ¶¶ 42–47 (proposed facts related to

 conspiracy claims). Fields concedes that Plaintiffs’ list contains facts that are consistent with his

 plea agreement and that he cannot contradict the truth of those matters at trial in this case. See

 Def. Fields’s Br. in Opp’n 5–7. Although this concession does not warrant deeming facts

 admitted, Plaintiffs and Fields should stipulate to any undisputed facts that will promote a just

 and more efficient resolution at trial. Fed. R. Civ. P. 1.



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                                           V. Conclusion

        For the foregoing reasons, Plaintiffs’ second Motion for Sanctions Against Defendant

 James Alex Fields Jr. under Rule 37 of the Federal Rules of Civil Procedure, ECF No. 1003, is

 hereby GRANTED in part and DENIED in part as follows:

     1. Plaintiffs’ request for an order precluding Fields from testifying at trial is GRANTED

        AS MODIFIED to preclude Fields from testifying in his own defense. Fed. R. Civ. P.

        37(d). Whether any other party may call Fields as a witness is a decision reserved to the

        presiding District Judge.

     2. Plaintiffs’ request for sanctions related to Fields’s failure to obey the June 11, 2020

        Order directing him to provide an SCA consent form for his Discord accounts, Fed. R.

        Civ. P. 37(b)(2), is GRANTED AS MODIFIED. Plaintiffs may file a petition setting

        out their reasonable expenses, including attorney’s fees, caused by Fields’s failure to

        obey this directive. Fed. R. Civ. P. 37(b)(2)(C).

     3. The Motion is DENIED WITHOUT PREJUDICE in all other respects.

        IT IS SO ORDERED.

                                                      ENTER: October 15, 2021



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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